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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

GIGI JORDAN,                                )
                                            )
               Plaintiff,                   )
                                            )
v.                                          )      C.A. No. 14-01485-GAM-SRF
                                            )
RAYMOND A. MIRRA, JR., et al.,              )
                                            )
               Defendants.                  )

                            NOTICE OF SERVICE OF DISCOVERY

       PLEASE TAKE NOTICE THAT on August 29, 2019, copies of the Plaintiff’s

Amended Responses to Defendant’s August 22, 2018 Interrogatories were served upon the

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